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                                     #:28406

1      CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
       Carlos Holguín (Cal. Bar No. 90754)
2      Peter A. Schey (Cal. Bar No. 58232)
3      256 South Occidental Boulevard
       Los Angeles, CA 90057
4
       Telephone: (213) 388-8693
5      Facsimile: (213) 386-9484
       Email: pschey@centerforhumanrights.org
6
              crholguin@centerforhumanrights.org
7
       ORRICK, HERRINGTON & SUTCLIFFE LLP
8      Elena Garcia (Cal. Bar No. 299680)
9      egarcia@orrick.com
       777 South Figueroa Street, Suite 3200
10     Los Angeles, CA 90017
11     Telephone: (213) 629-2020

12     Attorneys for plaintiffs (listing continues on following page)
13
                                UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16      JENNY LISETTE FLORES, et al.,                    )    Case No. CV 85-4544 DMG (AGRx)
                                                         )
17               Plaintiffs,                             )    [UNDER SEAL] SUPPLEMENTAL
        - vs -                                           )    DECLARATION OF CLASS COUNSEL IN
18
                                                         )    SUPPORT OF SUPPLEMENTAL
19      WILLIAM P. BARR, Attorney                        )    APPLICATION FOR LEAVE TO FILE
        General of the United States, et al.,            )    CORRECTED POINTS AND AUTHORITIES
20
                                                         )    IN SUPPORT OF MOTION TO ENFORCE
21               Defendants.                             )    SETTLEMENT AND EXHIBIT 10 UNDER
                                                    _    )    SEAL.
22

23                                                            [HON. DOLLY M. GEE]
24

25

26

27

28
                     [UNDER SEAL] SUPPLEMENTAL DECLARATION IN SUPPORT OF SUPPLEMENTAL APPLICATION
                                            TO FILE DOCUMENTS UNDER SEAL
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2

3
       Plaintiffs’ counsel, continued:

4      LA RAZA CENTRO LEGAL, INC.
5      Michael S. Sorgen (Cal. Bar No. 43107)
       474 Valencia Street, #295
6      San Francisco, CA 94103
7      Telephone: (415) 575-3500

8      THE LAW FOUNDATION OF SILICON VALLEY
9      Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
       Katherine H. Manning (Cal. Bar No. 229233)
10     Annette Kirkham (Cal. Bar No. 217958)
11     4 North Second Street, Suite 1300
       San Jose, CA 95113
12     Telephone: (408) 280-2437
13     Facsimile: (408) 288-8850
       Email: jenniferk@lawfoundation.org
14     kate.manning@lawfoundation.org
15           annettek@lawfoundation.org

16     NATIONAL CENTER FOR YOUTH LAW
17     Leecia Welch (Cal. Bar. No. 208741)
       Neha Desai (Cl. RLSA Bar No. 803161)
18     405 14th Street, 15th Floor
19     Oakland, CA 94612
       Telephone: (510) 835-8098
20     Email: lwelch@youthlaw.org ndesai@youthlaw.org
21
       U.C. DAVIS SCHOOL OF LAW
22     Holly S. Cooper (Cal. Bar No, 197626)
23     One Shields Ave. TB 30
       Davis, CA 95616
24     Telephone: (530) 754-4833
25     Email: hscooper@ucdavis.edu
26

27

28
                  [UNDER SEAL] SUPPLEMENTAL DECLARATION IN SUPPORT OF SUPPLEMENTAL APPLICATION
                                         TO FILE DOCUMENTS UNDER SEAL
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1
                         SUPPLEMENTAL DECLARATION OF PETER SCHEY
2

3
             I, Peter A. Schey, depose and say:

4            1. This declaration is made in support of the concurrently filed Supplemental
5
       Application for Leave to File Corrected Memorandum of Points and Authorities in
6

7
       Support of Motion to Enforce Settlement and Exhibit 10 Under Seal.

8            2. On May 31, 2019, Plaintiffs filed a Notice of Motion and Motion to Enforce
9
       Settlement Agreement; Memorandum of Points and Authorities [Doc. #547-2], and
10

11     five volumes of Exhibits in Support of Plaintiffs’ Motion to Enforce the Settlement

12     [Redacted Version of Document Proposed to be Filed Under Seal] [Doc. ## 547-3,
13
       547-4, 547-5, 547-6, and 547-7]. Plaintiffs concurrently filed an Application to File
14

15     Motion to Enforce Settlement and Exhibits Under Seal [Doc. # 547], and a Declaration

16     in Support of Application to file Motion to Enforce Settlement and Exhibits under seal
17
       [Doc. #548].
18

19           3. Subsequently, on May 31, 2019, this Court issued a Minute Order [Doc. #

20     549] instructing Plaintiffs to file a Supplemental Application explaining proposed
21
       redactions in Exhibit 10 (Volume 2) [Doc. # 547-4], which is a deposition taken in
22

23     Lucas R. v. Alex Azar, 2:18-CV-05741 (CD Cal.), and to provide Defendants’ position
24     as to those redactions.
25

26

27

28
                  [UNDER SEAL] SUPPLEMENTAL DECLARATION IN SUPPORT OF SUPPLEMENTAL APPLICATION
                                         TO FILE DOCUMENTS UNDER SEAL
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1            4. On May 31, 2019, I corresponded with Sarah Fabian, counsel for Defendants
2      in Flores, to ask the government’s position as to redactions in Exhibit 10. Ms. Fabian
3
       forwarded my correspondence to counsel for Defendants in Lucas R., Benjamin Moss.
4

5      On June 4, 2019, Mr. Moss replied to me with the government’s position as to the use
6
       of the deposition and the proposed redactions, which stated:
7
             The Court’s May 31, 2019 order in Flores pertaining to “information
8

9            concerning the ‘identities of certain Government employees’ is covered
10
             under paragraph 5 of the Lucas R. protective order, which defines
11
             ‘Confidential Personal Information’ as ‘personal identifiable information’
12

13           for ‘third parties, non-supervisory federal and non-federal employees,
14
             including names and contact information. We also note that the official-
15
             capacity Lucas R. defendants proceeded with the April 2019 depositions of
16

17           [government employee deponents] in good faith under the auspices of the
18
             Lucas R. case based on our understanding that these depositions would be
19
             used solely for purposes of the Lucas R. litigation. Indeed Paragraph 12 of
20

21           the Lucas R. protective order provides that “all Confidential Personal
22
             Information produced or exchanged pursuant to this Protective Order shall
23
             be used solely for the purposes of litigating or resolving this action and for
24

25           no other purpose whatsoever and shall not be disclosed, disseminated, or
26
             transmitted to any person, entity, or organization except in accordance with
27

28
             the terms of this Protective Order.” (emphasis added). Using evidence
                  [UNDER SEAL] SUPPLEMENTAL DECLARATION IN SUPPORT OF SUPPLEMENTAL APPLICATION
                                         TO FILE DOCUMENTS UNDER SEAL
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1            collected in Lucas R. that the Flores plaintiffs would not otherwise be
2            entitled to obtain under Flores does not comport with the spirit or the letter
3
             of the Lucas R. protective order. We therefore and respectfully object to the
4

5            Flores plaintiffs’ proposal to use that evidence outside of the Lucas R. case
6
             in general and in Flores in particular.
7

8

9            If, however, the Court concludes that using evidence collected in and subject

10           to the protective order in Lucas R. is nevertheless appropriate in Flores, the
11
             Lucas R. official-capacity defendants state as follows concerning what
12

13           redactions may be required under the Lucas R. protective order. Under the

14           Lucas R. protective order, concerning: (1) [Deponent]: Her name and title
15
             should be redacted under the Lucas R. protective order, as she is not a
16

17           supervisory employee. (2) Jill Volovar and James de la Cruz: As we

18           understand these employees to have supervisory duties, we do not read the
19
             Lucas R. protective order as requiring redaction. (3) [Six names of
20

21           employees] and any other federal employees or contractors referenced in

22           [Deponent’s] deposition: their names and titles should be redacted under the
23
             Lucas R. protective order, as upon our initial understanding these people are
24

25           either non-supervisory federal or non-federal employees….
26

27

28
                 [UNDER SEAL] SUPPLEMENTAL DECLARATION IN SUPPORT OF SUPPLEMENTAL APPLICATION
                                        TO FILE DOCUMENTS UNDER SEAL
                                                      5
     Case 2:85-cv-04544-DMG-AGR Document 558 Filed 06/14/19 Page 6 of 24 Page ID
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1            5. A true and correct copy of the Stipulated Protective Order filed in Lucas R. is
2      attached hereto as Exhibit 1.
3
             6. Plaintiffs do not have sufficient information to assess whether the six named
4

5      employees and the deponent in Exhibit 10 are supervisory or non-supervisory
6
       employees. Since the pages on which the non-deponent employees are mentioned are
7
       irrelevant to the pending motion, Plaintiffs have extracted from Exhibit 10 pages 11,
8

9      17, 19, 58, 123, 169, and 183, containing the names of employees Defendants assert
10
       are non-supervisory employees. The only redactions remaining in Exhibit 10 are the
11
       deponent’s name and title. The deponent’s name and title are also redacted from the
12

13     concurrently filed Corrected Points and Authorities in Support of Motion to Enforce
14
       Settlement Agreement.
15
             I declare under penalty of the perjury that the foregoing facts are true and
16

17     correct. Executed this 14th day of June, 2019, in Los Angeles, California.
18

19

20                                                         Peter A. Schey
21

22

23

24

25

26

27

28
                  [UNDER SEAL] SUPPLEMENTAL DECLARATION IN SUPPORT OF SUPPLEMENTAL APPLICATION
                                         TO FILE DOCUMENTS UNDER SEAL
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                           Exhibit 1
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     1    CENTER FOR HUMAN RIGHTS &                 JOSEPH H. HUNT
          CONSTITUTIONAL LAW                        Assistant Attorney General United
     2    CARLOS R. HOLGUÍN (90754)                 States Department of Justice
          256 South Occidental Boulevard            Civil Division
     3    Los Angeles, CA 90057                     ERNESTO H. MOLINA, JR.
          Telephone: (213) 388-8693                 JEFFREY S. ROBINS
     4    Email:                                    Deputy Directors
          crholguin@centerforhumanrights.org        Office of Immigration Litigation
     5                                              BENJAMIN MARK MOSS
          Attorneys for Plaintiffs                  Senior Litigation Counsel
     6                                              W. DANIEL SHIEH
                                                    Senior Litigation Counsel
          Additional counsel listed on following    ANDREW B. INSENGA
     7    page                                      Trial Attorney
                                                    SHERRY D. SOANES
     8                                              Trial Attorneys
                                                    MARINA C. STEVENSON
     9                                              Trial Attorney
                                                    P.O. Box 878 Ben Franklin Station
   10                                               Washington, D.C. 20044
                                                    Telephone: (202) 305-9802
   11                                               Facsimile: (202) 305-1890
                                                    Email: daniel.shieh@usdoj.gov
   12
                                                    Attorneys for Defendants (Official
   13                                               Capacity Only)

   14                                               Additional counsel listed on following
                                                    page
   15
   16                           UNITED STATES DISTRICT COURT
   17                         CENTRAL DISTRICT OF CALIFORNIA
   18                                  WESTERN DIVISION
   19 LUCAS R., et al.,                            Case No. 2:18-CV-05741 DMG PLA
   20                    Plaintiffs,               STIPULATED PROTECTIVE
                                                   ORDER
   21          v.
   22    ALEX AZAR, Secretary of U.S.
         Department of Health and Human
   23    Services, et al.,
   24                    Defendants.
   25
   26
   27
   28
                                                                     STIPULATED PROTECTIVE ORDER
                                                                    CASE NO. 18-CV-05741 DMG PLA
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     1   HOLLY S. COOPER (197626)
         Co-Director, Immigration Law Clinic
     2   CARTER C. WHITE (164149)
         Director, Civil Rights Clinic
     3   University of California Davis School of Law
         One Shields Ave. TB 30
     4   Davis, CA 95616
         Telephone: (530) 754-4833
     5   Email: hscooper@ucdavis.edu
                ccwhite@ucdavis.edu
     6
         NATIONAL CENTER FOR YOUTH LAW
     7   LEECIA WELCH (208741)
         NEHA DESAI (CAL. RLSA NO. 803161)
     8   FREYA PITTS (295878)
         POONAM JUNEJA (300848)
     9   405 14th Street, 15th Floor
         Oakland, CA 94612
   10    Telephone: (510) 835-8098
         Email: lwelch@youthlaw.org
   11           ndesai@youthlaw.org
                 pjuneja@youthlaw.org
   12           fpitts@youthlaw.org
   13    NATIONAL CENTER FOR YOUTH LAW
         CRYSTAL ADAMS (308638)
   14    1313 L St. NW, Suite 130
         Washington, DC 20005
   15    Telephone: (202) 868-4785
         Email: cadams@youthlaw.org
   16
         COOLEY LLP
   17    SUMMER J. WYNN (240005)
         MARY KATHRYN KELLEY (170259)
   18    JON F. CIESLAK (268951)
         MEGAN L. DONOHUE (266147)
   19    4401 Eastgate Mall
         San Diego, CA 92121
   20    Telephone: (858) 550-6000
         Facsimile: (858) 550-6420
   21    Email: swynn@cooley.com
                mkkelley@cooley.com
   22           jcieslak@cooley.com
                mdonohue@cooley.com
   23
         Attorneys for Plaintiffs
   24
         NICOLA T. HANNA, United States Attorney
   25    DAVID M. HARRIS, Assistant United States Attorney
         Chief Civil Division
   26    JOANNE S. OSINOFF, Assistant United States Attorney
         Chief General Civil Division
   27    DAVID PINCHAS, Assistant United States Attorney
   28    Attorneys for Defendant E. Scott Lloyd

                                                                     STIPULATED PROTECTIVE ORDER
                                                                    CASE NO. 18-CV-05741 DMG PLA
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     1                                         GENERAL
     2         1.     Purposes and Limitations. On September 7, 2018, Plaintiffs filed a First
     3   Amended Complaint against Defendants (Plaintiffs collectively with Defendants, the
     4   “Parties”). The Parties are presently conducting discovery concerning both Named
     5   Plaintiffs, who were minors in the custody of the Office of Refugee Resettlement
     6   (“ORR”), and current class members in this action, who are minors in the custody of
     7   ORR. The Parties respectfully request that the Court enter a Protective Order
     8   governing the production, disclosure, and dissemination of confidential, personally
     9   identifiable information.
   10          2.     Good Cause Statement.         Good cause exists for the entry of this
   11    Protective Order because some discovery granted, ordered, or provided in this action
   12    is likely to result in the disclosure by the Parties of personal, confidential, or medical
   13    information of individuals, including minors, who are or were in the custody of ORR,
   14    and of third parties. The Court, having found that good cause exists for entry of an
   15    appropriately-tailored confidentiality order governing discovery in this action,
   16    HEREBY ORDERS:
   17          3.     This Protective Order and the terms, obligations, and responsibilities of
   18    the Parties contained herein shall govern all personally identifiable information
   19    disclosed or produced as a result of discovery granted, ordered, or provided in this
   20    action.
   21          4.     Pursuant to 5 U.S.C. § 552a (the “Privacy Act”), this Protective Order
   22    authorizes the parties to (1) produce personally identifiable information that would
   23    otherwise be prohibited from disclosure under the Privacy Act, (2) produce
   24    personally identifiable information without presenting Privacy Act objections to this
   25    Court for a decision regarding such disclosure, and (3) produce information protected
   26    under the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”).
   27    To the extent the Privacy Act or HIPAA allows the disclosure of information
   28    pursuant to a court order, this Protective Order constitutes such a court order, and
                                                                          STIPULATED PROTECTIVE ORDER
                                                     1.                  CASE NO. 18-CV-05741 DMG PLA
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     1   authorizes the disclosure of that information. Notwithstanding the entry of this
     2   Protective Order, nothing in this paragraph shall require production of information
     3   that is prohibited from disclosure (even with the entry of this Protective Order) by
     4   other applicable privileges, statutes, regulations, or authorities by which Defendants
     5   may be bound. This Protective Order shall also govern the safeguarding of such
     6   information by all individuals referenced herein.
     7         5.     As used in this Protective Order, the term “Confidential Personal
     8   Information” includes personally identifiable information or medical information of
     9   individuals who are or were in the custody of ORR, third parties, non-supervisory
   10    federal and non-federal employees, including names and contact information;
   11    confidential commercial or financial information as defined under 5 U.S.C. §
   12    552(b)(4); and any other information that is protected or restricted from disclosure
   13    by statute or regulation, but which the Court may order to be produced. If a
   14    designating Party determines that information not described in this paragraph should
   15    be designated Confidential Personal Information, the Parties shall negotiate the
   16    appropriateness of that designation in good faith and endeavor to resolve any dispute
   17    prior to the production of that information.
   18          6.     Confidential Personal Information may be designated by the Parties in
   19    one or more of the following ways:
   20                 a.    Any and all Confidential Personal Information contained in
   21    documents produced by Defendants to Plaintiffs as a result of discovery governed by
   22    this Protective Order shall be designated “Defendants’ Confidential Personal
   23    Information.”
   24                 b.    Any and all Confidential Personal Information produced by
   25    Plaintiffs to Defendants as a result of discovery governed by this Protective Order
   26    shall be designated “Plaintiffs’ Confidential Personal Information.”
   27                 c.    Confidential Personal Information may be so designated by the
   28    Parties simply by inserting the word “Confidential” in a conspicuous place on any
                                                                       STIPULATED PROTECTIVE ORDER
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     1   documents produced as a result of discovery governed by this Protective Order.
     2   Confidential Personal Information contained in any statement made during an oral
     3   deposition may be designated as “Confidential” either through a statement made on
     4   the record, or by serving written notice of the page and line of the confidential
     5   deposition portions. If a Party orally designates testimony as “Confidential” during
     6   the course of a deposition by making a statement to that effect on the record, the court
     7   reporter shall transcribe the designated pages in a separate volume marked with the
     8   appropriate designation. Any individual attending the deposition must leave the
     9   room prior to discussion of whether material is designable if that person is not
   10    authorized to view Confidential Personal Information under the terms of this
   11    Protective Order. If such designations are made through written notice, they shall be
   12    made within twenty (20) days of receiving the final transcript. Until the aforesaid
   13    period to designate the deposition has passed, the entire transcript shall be deemed
   14    Confidential Personal Information under the terms of this Protective Order.
   15                 d.     If a Party disagrees with a designation of Confidential Personal
   16    Information, it shall provide the designating Party written notice of its challenge. The
   17    challenging Party and the designating Party shall attempt to resolve each challenge
   18    in good faith and must begin a meet and confer process under Local Rule 37-1, et.
   19    seq., or under procedures otherwise laid out by the Court. If the Parties cannot
   20    resolve this dispute, they may proceed under the Federal and Local Rules of Civil
   21    Procedure addressing discovery disputes. The designating Party bears the burden of
   22    showing that information is “Confidential Personal Information” as defined herein.
   23    Failure to challenge a designation immediately does not waive a Party’s ability to
   24    bring a later challenge. Frivolous challenges to a designation, and those made for an
   25    improper purpose (e.g., to harass or to impose unnecessary expenses and burdens on
   26    other parties), may expose the challenging Party to sanctions.
   27                 e.     Information designated as Confidential Personal Information,
   28    including the portion of any document containing Confidential Personal Information,
                                                                         STIPULATED PROTECTIVE ORDER
                                                    3.                  CASE NO. 18-CV-05741 DMG PLA
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     1   may be disclosed only to the following “Qualified Persons”:
     2                       (1)     Defendants’ Counsel in this action and any employed or
     3   contracted support staff and other contractors or employees of such counsel or
     4   Defendants assisting in this action with an appropriate need to know, including
     5   litigation assistants, paralegals, information technology, information or records
     6   management, investigative, secretarial, or clerical personnel;
     7                       (2)     Plaintiffs’ Counsel in this action and any employed or
     8   contracted support staff and other contractors or employees of such counsel assisting
     9   in this action with an appropriate need to know, including litigation assistants,
   10    paralegals,   information    technology,    information    or    records   management,
   11    investigative, secretarial, or clerical personnel;
   12                        (3)     Any experts retained for this action by counsel to a Party
   13    or support staff or employees for such an expert with an appropriate need to know;
   14                        (4)     Any other person mutually authorized by the Parties’
   15    counsel to examine such information with an appropriate need to know;
   16                        (5)     Potential percipient witnesses with an appropriate need to
   17    know; and
   18                        (6)     The Court and its personnel, including court reporters.
   19                  f.    All persons listed in subparagraphs 6(e)(3)-(5) to whom
   20    Confidential Personal Information is disclosed shall first be required to read the
   21    terms of this Protective Order and sign a copy of the “Acknowledgment of Protective
   22    Order for Discovery” form, attached hereto as Exhibit A. This requirement does not
   23    apply to the disclosure of Confidential Personal Information to the Court and its
   24    personnel, including court reporters.
   25          7.      Nothing in this Protective Order shall limit or in any way restrict
   26    Department of Health and Human Services and Department of Justice Counsel from
   27    discussing the cases of individuals whose Confidential Personal Information is
   28    protected by this Protective Order in order to carry out their operations and
                                                                          STIPULATED PROTECTIVE ORDER
                                                     4.                  CASE NO. 18-CV-05741 DMG PLA
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     1   proceedings. Nothing in this Protective Order shall limit or in any way restrict the
     2   Parties’ use of information obtained through a source other than through discovery
     3   production. Further, nothing in this Protective Order shall restrict Defendants from
     4   performing statutorily authorized functions as they pertain to such individuals, and
     5   Defendants may not be held liable for fully executing such authority in ordinary
     6   course, notwithstanding this Protective Order.
     7         8.     All discovery labeled Confidential Personal Information shall be
     8   disclosed or made available only to Qualified Persons and shall be restricted in
     9   circulation only to said Qualified Persons.
   10          9.     All Qualified Persons to whom Confidential Personal Information is
   11    disclosed are hereby prohibited from disclosing to, or otherwise discussing with, any
   12    person other than other Qualified Persons, any information designated as
   13    Confidential Personal Information, except as otherwise provided in this Protective
   14    Order.
   15          10.    In the event a Party wishes to use any Confidential Personal Information
   16    produced under this Protective Order to move the Court to resolve a matter arising
   17    from litigating this action only, or to oppose such motion, such pleadings shall be
   18    filed in accordance with Local Rule 79-5. Confidential Personal Information may
   19    only be filed under seal pursuant to a court order authorizing the sealing of the
   20    specific Confidential Personal Information at issue; good cause must be shown in the
   21    request to file under seal.    If a Party’s request to file Confidential Personal
   22    Information under seal is denied by the Court, then the receiving Party may file the
   23    information in the public record unless otherwise instructed by the Court.
   24          11.    If counsel for any Party is required by law or court order to disclose,
   25    disseminate, or transmit Confidential Personal Information produced under this
   26    Protective Order to any person or entity not identified herein as a Qualified Person,
   27    the name of that person or entity and the reason access is required shall be provided
   28    to counsel for the Parties no less than fourteen (14) days prior to disclosure,
                                                                      STIPULATED PROTECTIVE ORDER
                                                   5.                CASE NO. 18-CV-05741 DMG PLA
Case
  Case
     2:18-cv-05741-DMG-PLA
        2:85-cv-04544-DMG-AGR
                            Document
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     1   dissemination, or transmittal, so as to provide the designating Party sufficient time to
     2   object and seek a protective order as necessary. There shall be no disclosure after an
     3   objection has been made until the dispute has been resolved unless disclosure,
     4   dissemination, or transmission is required by law or a court order. Any person, entity,
     5   or organization who receives Confidential Personal Information shall be provided
     6   with a photocopy of this Protective Order, shall sign a copy of the Acknowledgment
     7   of Protective Order for Discovery form, and shall abide by all the terms and
     8   conditions set forth herein unless otherwise permitted by a court order.
     9         12.    Except as provided in this paragraph or elsewhere in this Protective
   10    Order, all Confidential Personal Information produced or exchanged pursuant to this
   11    Protective Order shall be used solely for the purposes of litigating or resolving this
   12    action and for no other purpose whatsoever and shall not be disclosed, disseminated,
   13    or transmitted to any person, entity, or organization except in accordance with the
   14    terms of this Protective Order.
   15                 a.     The limitations and restrictions on Confidential Personal
   16    Information in this Protective Order shall not apply with respect to information
   17    obtained through a source other than through the instant litigation.
   18                 b.     This Protective Order shall not preclude Plaintiffs’ Counsel from
   19    using the information obtained through discovery production to contact class
   20    members as certified by the Court for purposes of this case and as provided for
   21    pursuant to the procedures laid out in the parties’ Rule 26(f) report.
   22          13.    The Parties shall maintain Confidential Personal Information as follows:
   23                 a.     The Parties and anyone to whom Confidential Personal
   24    Information has been disclosed in accordance with paragraph 6 shall maintain
   25    Confidential Personal Information pursuant to the terms of this Protective Order,
   26    subject to further order by this Court (this provision does not apply to Confidential
   27    Personal Information disclosed to and maintained by the Court and its personnel,
   28    including court reporters). Within ten (10) days after the final disposition of this
                                                                         STIPULATED PROTECTIVE ORDER
                                                    6.                  CASE NO. 18-CV-05741 DMG PLA
Case
  Case
     2:18-cv-05741-DMG-PLA
        2:85-cv-04544-DMG-AGR
                            Document
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     1   action, including any and all appeals, all Confidential Personal Information and
     2   copies thereof in the possession of the Parties and anyone to whom Confidential
     3   Personal Information has been disclosed in accordance with paragraph 6, shall be
     4   returned to the producing Party or destroyed, at the option of the producing Party,
     5   except as this Court may otherwise order. If destroyed, it shall be certified in writing
     6   to the producing Party that such information has been destroyed.
     7                b.     Notwithstanding subparagraph 13(a), counsel of record may
     8   maintain a complete set of discovery for their records through the final disposition of
     9   this action, including any and all appeals or the time during which an appeal is
   10    possible, and for a period of eight (8) years after resolution of the case or after any
   11    judgment becomes final, whichever is later, provided that such counsel maintain the
   12    confidential nature of the discovery, as set forth in this Protective Order.          In
   13    particular, attorneys for the United States may maintain copies of any documents
   14    designated Confidential in their case file for this case, and may maintain copies of
   15    any notes or summaries containing such Confidential material in their case file for
   16    this case, subject to 44 U.S.C. § 3101, et seq., and 5 U.S.C. § 552, et seq.
   17          14.    If a Party inadvertently fails to designate material as Confidential
   18    Personal Information at the time of production, it shall take reasonable steps to notify
   19    the receiving Party of its failure within five (5) business days of discovery of the
   20    inadvertent failure to designate. The designating Party shall promptly supply the
   21    receiving Party with new copies of any documents bearing corrected confidentiality
   22    designations, and the receiving Party shall return or destroy the original materials,
   23    and certify in writing to the designating Party that such information has been
   24    destroyed.
   25          15.    Under Federal Rule of Evidence 502, inadvertent disclosure of any
   26    document or information during discovery in this action shall be without prejudice to
   27    any claims that such material is confidential, privileged, or otherwise protected from
   28    discovery within the meaning of Federal Rule of Civil Procedure 26, and no Party to
                                                                         STIPULATED PROTECTIVE ORDER
                                                    7.                  CASE NO. 18-CV-05741 DMG PLA
Case
Case 2:85-cv-04544-DMG-AGR
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  1   this Protective Order shall be held to have waived any rights by such inadvertent
  2   disclosure. Except in the event that the receiving Party disputes the claim, any
  3   documents the producing Party deems to have been inadvertently disclosed shall be,
  4   within five (5) business days, returned or destroyed, and the receiving Party shall
  5   provide a written certification of counsel that all such disclosed information has been
  6   returned or destroyed. If a claim is disputed, the Parties shall follow the procedures
  7   outlined in the Federal and Local Rules of Civil Procedure and the Court’s standing
  8   orders. Further, any document or information so produced or disclosed, and subject
  9   to any subsequent claim of privilege, work-product or any other protection, including
 10   protection under this Protective Order, shall not be introduced into evidence in this
 11   or any other proceeding by any person without either: (1) the consent of the producing
 12   Party or (2) order of this Court. Nor will such document or information be subject to
 13   production (other than in camera) in any proceeding by virtue of the fact that it was
 14   produced in this proceeding.
 15         16.      Nothing in this Protective Order shall be construed as a waiver of any
 16   defense, right or claim by either Party, nor shall this Protective Order affect the right
 17   of either Party to seek additional protection against the disclosure of any information,
 18   documents or materials, or of the Parties to seek additional disclosures.
 19         17.      Nothing in this Protective Order shall be taken to authorize disclosure
 20   of information barred from disclosure pursuant to Local Rule 79-5.
 21         18.      Nothing in this Protective Order shall prevent disclosure of otherwise
 22   protected Confidential Personal Information if the person to whom the Confidential
 23   Personal Information pertains, and counsel for all Parties, consents to such disclosure
 24   in writing, or if the Court, after notice to the Parties, orders such disclosure.
 25   Disclosure shall be limited to the extent to which it is authorized by such person or a
 26   Court Order.
 27         19.      Nothing in this Protective Order prohibits either Party from sharing with
 28   the Court information concerning anyone named as a result of this discovery,
                                                                      STIPULATED PROTECTIVE ORDER
                                                  8.                 CASE NO. 18-CV-05741 DMG PLA
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Case 2:85-cv-04544-DMG-AGR
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  1   provided such information is filed pursuant to the rules herein governing the filing of
  2   Confidential Personal Information.
  3         20.    The Parties may seek to modify this Protective Order through a written
  4   agreement signed by counsel for all Parties and approved by the Court. In the event
  5   that all Parties do not agree to a proposed modification, each Party reserves the right
  6   to seek leave of the Court to modify this Protective Order.
  7         21.    This Protective Order shall be binding upon any present or future party
  8   to the Lucas R. et al., v. Azar, et al., No. 2-18-CV-05741-DMG (C.D. Cal.), litigation
  9   as it relates to the production of information as a result of discovery governed by this
 10   Protective Order.
 11         22.    The terms of this Protective Order shall survive the termination of the
 12   above-captioned proceeding after its final disposition for purposes of enforcing this
 13   Protective Order.
 14   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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                                                                      STIPULATED PROTECTIVE ORDER
                                                 9.                  CASE NO. 18-CV-05741 DMG PLA
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Case 2:85-cv-04544-DMG-AGR
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                                  #:4751

  1   Dated: March 12, 2019            CARLOS HOLGUIN
                                       Center for Human Rights &
  2                                    Constitutional Law
  3                                    HOLLY COOPER
                                       CARTER WHITE
  4                                    University of California Davis School of Law
  5                                    LEECIA WELCH
                                       NEHA DESAI
  6                                    FREYA PITTS
                                       POONAM JUNEJA
  7                                    CRYSTAL ADAMS
                                       National Center for Youth Law
  8
                                       SUMMER WYNN
  9                                    MARY KATHRYN KELLEY
                                       JON F. CIESLAK
 10                                    MEGAN DONOHUE
                                       Cooley LLP
 11
 12                                     By: /s/ Jon F. Cieslak
 13                                        Jon F. Cieslak

 14                                        Attorneys for Plaintiffs

 15   Dated: March 12, 2019            ERNESTO H. MOLINA, JR.
                                       JEFFREY S. ROBINS
 16                                    BENJAMIN MARK MOSS
                                       W. DANIEL SHIEH
 17                                    ANDREW B. INSENGA
                                       SHERRY D. SOANES
 18                                    MARINA C. STEVENSON
                                       NICOLA T. HANNA
 19                                    DAVID M. HARRIS
                                       JOANNE S. OSINOFF
 20                                    DAVID PINCHAS

 21
 22                                     By: /s/ W. Daniel Shieh
                                           W. Daniel Shieh
 23
                                           Attorneys for Defendants (Official
 24                                        Capacity Only)
 25
 26
 27
 28
                                                                  STIPULATED PROTECTIVE ORDER
                                           10.                   CASE NO. 18-CV-05741 DMG PLA
Case
Case 2:85-cv-04544-DMG-AGR
     2:18-cv-05741-DMG-PLA Document
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                                 #:28425
                                  #:4752

  1   Dated: March 12, 2019                 NICOLA T. HANNA
                                            DAVID M. HARRIS
  2                                         JOANNE S. OSINOFF
                                            DAVID PINCHAS
  3
  4
  5                                         By: /s/ David Pinchas
                                               David Pinchas
  6
                                               Attorneys for Defendant E. Scott Lloyd
  7
      Pursuant to Local Rule 5-4.3.4(i),    COOLEY LLP
  8   I certify that all of the above
  9   signatories concur in this filing’s
      content and have authorized the       By: /s/ Jon F. Cieslak
 10   filing.                                  Jon F. Cieslak
 11                                            Attorneys for Plaintiffs
      Dated: March 12, 2019
 12
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                                                                      STIPULATED PROTECTIVE ORDER
                                               11.                   CASE NO. 18-CV-05741 DMG PLA
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Case 2:85-cv-04544-DMG-AGR
     2:18-cv-05741-DMG-PLA Document
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  9
                            UNITED STATES DISTRICT COURT
 10
                           CENTRAL DISTRICT OF CALIFORNIA
 11
                                    WESTERN DIVISION
 12
 13 LUCAS R., et al.,                           Case No. 2:18-CV-05741 DMG PLA
 14                   Plaintiffs,               [PROPOSED] STIPULATED
                                                PROTECTIVE ORDER
 15         v.
 16   ALEX AZAR, Secretary of U.S.
      Department of Health and Human
 17   Services, et al.,
 18                   Defendants.
 19
 20         Having considered the papers, and finding that good cause exists, the Court
 21   hereby enters the Parties’ Stipulated Protective Order.
 22
 23
 24         IT IS SO ORDERED.
 25
 26   DATED: March ____, 2019                        __________________________
                                                     PAUL L. ABRAMS
 27                                                  United States Magistrate Judge
 28
                                                           [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                1.                  CASE NO. 18-CV-05741 DMG PLA
Case
Case 2:85-cv-04544-DMG-AGR
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  1                                      EXHIBIT A
  2
  3                         UNITED STATES DISTRICT COURT
  4                       CENTRAL DISTRICT OF CALIFORNIA
  5                                 WESTERN DIVISION
  6 LUCAS R., et al.,                           Case No. 2:18-CV-05741 DMG PLA
  7                 Plaintiffs,                 [PROPOSED] STIPULATED
                                                PROTECTIVE ORDER
  8         v.
  9   ALEX AZAR, Secretary of U.S.
      Department of Health and Human
 10   Services, et al.,
 11                   Defendants.
 12
 13                                 ACKNOWLEDGMENT
 14
 15         I ___________________________, am aware of the litigation in Lucas R. et
 16   al., v. Azar, et al., No. 2-18-CV-05741-DMG (C.D. Cal.) in the capacity of
 17   _________________________. I do solemnly swear or aver that I am fully familiar
 18   with the terms of the Stipulated Protective Order (“Protective Order”) in the above
 19   referenced matter on ________________, and hereby agree to comply with and be
 20   bound by its terms and conditions unless and until it is modified by further Order of
 21   the United States District Court for the Central District of California (“Court”). I
 22   also acknowledge that I have reviewed the provisions of the Protective Order
 23   governing “Confidential Personal Information”, and understand that this information,
 24   which may include personally identifiable information, confidential commercial or
 25   financial information, or medical information, may be disclosed to me. I understand
 26   that such information shall not be disclosed, disseminated, or distributed to any
 27   person who is not authorized to receive it in accordance with paragraph 6 of the
 28   Protective Order. For these reasons, I specifically acknowledge consent and agree to
                                                         EX. A TO [PROPOSED] STIPULATED PROTECTIVE
                                               1.                                           ORDER
                                                                     CASE NO. 18-CV-05741 DMG PLA
Case
Case 2:85-cv-04544-DMG-AGR
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                                 #:28428
                                  #:4755

  1   the disclosure requirements, limits and restrictions of the Protective Order and hereby
  2   consent
  3   to the jurisdiction of the Court for purposes of enforcing this Order.
  4
  5   Executed this ___ day of _____________ by ______________________________
                                               (Print Name)
  6
  7   Signed__________________________________________________________
      200364638 v1
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                                                          EX. A TO [PROPOSED] STIPULATED PROTECTIVE
                                                2.                                           ORDER
                                                                      CASE NO. 18-CV-05741 DMG PLA
     Case 2:85-cv-04544-DMG-AGR Document 558 Filed 06/14/19 Page 24 of 24 Page ID
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1                                         CERTIFICATE OF SERVICE
2             I, Peter Schey, declare and say as follows:
3
              I am over the age of eighteen years of age and am a party to this action. I am
4

5       employed in the County of Los Angeles, State of California. My business address is
6
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
7

8             On June 14 2019, I electronically filed the following document(s):

9       UNDER SEAL SUPPLEMENTAL DECLARATION OF CLASS COUNSEL IN SUPPORT OF
10      SUPPLEMENTAL APPLICATION FOR LEAVE TO FILE CORRECTED POINTS AND
        AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT AND EXHIBIT 10
11      UNDER SEAL.
12
        with the United States District Court, Central District of California by using the
13      CM/ECF system.
14

15                                                       /s/Peter Schey
16                                                       Attorney for Plaintiffs

17

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28
                   [UNDER SEAL] SUPPLEMENTAL DECLARATION IN SUPPORT OF SUPPLEMENTAL APPLICATION
                                          TO FILE DOCUMENTS UNDER SEAL
                                                        7
